
opinion. '
Littleton
: The taxpayers claim to be entitled to the deduction of the net losses as above set forth. The Commissioner denied the claim *586upon the ground that the taxpayers were not in existence for the full year 1919.
The situation presented by these appeals is comparable with that in the Appeal of Patapsco Ballast Co., 1 B. T. A. 1081. The only difference between the two ca^es consists of the fact that these taxpayers had an entire year 1918 and a fractional year 1919, whereas, in the Patapsco case, both years were fractional. We are of the opinion that the decision of the question involved in these appeals is governed by the rule of the Patapsco case, and that these taxpayers are entitled to deduct the net losses sustained in the year 1919 from the net income for the year 1918.

Judgment for the petitioners. Order of re-determination will be entered on 15 days'

1

 notice, under Rule 50.

